     Case 2:14-cv-00601-MHT-JTA Document 3333 Filed 07/09/21 Page 1 of 2


  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )      CIVIL ACTION NO.
      v.                            )        2:14cv601-MHT
                                    )             (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

                                   ORDER

    During the omnibus remedial hearing on July 9, 2021, the

court requested that the parties file with the court briefs

on several additional topics, all of which are due by 5:00

p.m. on July 15, 2021.       The plaintiffs are to file an updated

version of their proposed omnibus remedial order that is

reorganized     to    eliminate         duplication     and    suggestions

regarding potential benchmarks for correctional staffing.

The defendants are to file a final proposal on correctional

staffing, to include a description of the agency staffing

unit and the unit head role, a discussion of how the unit

head will work with the Savages, and estimated dates by which
     Case 2:14-cv-00601-MHT-JTA Document 3333 Filed 07/09/21 Page 2 of 2


ADOC believes it can create this unit and staff the unit

head position.     In addition, both parties are to file briefs

discussing whether the court has the legal authority to grant

both the relief that they are requesting on staffing and the

relief being requested by the other party.                   These briefs

should address both mental-health and correctional staffing,

and they should also address what would happen if the court

decides not to take any additional action on staffing.

    DONE, this the 9th day of July, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                     2
